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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

        Plaintiff,                                     Case No. 3:21-cr-94

vs.

MICHAEL SHAWN EVANS,                                   District Judge Michael J. Newman
                                                       Magistrate Judge Peter B. Silvain, Jr.

        Defendant.


  ORDER ADOPTING THE REPORT AND RECOMMENDATION OF THE UNITED
              STATES MAGISTRATE JUDGE (DOC. NO. 31)


        This criminal case is before the Court on the Report and Recommendation of the United

States Magistrate Judge, recommending that the Court accept Defendant’s guilty plea. Doc. No.

31. There being no objections, the Court ADOPTS the Report and Recommendation in full. The

Court accepts Defendant’s plea of guilty as charged in Count One of the Information, which

charges him with being a felon in possession of a firearm, 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

Doc. No. 25. The Court will defer the decision of whether to accept the plea agreement until the

sentencing hearing on March 8, 2022 at 3:00 PM.

        IT IS SO ORDERED.

Date:    November 15, 2021                         s/ Michael J. Newman
                                                   Hon. Michael J. Newman
                                                   United States District Judge
